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Fu_+:‘:;:.~ D'J'N‘ n.c.
UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE §§ J{_}§g Zh AH 8: 28
Western Division
s: isaac
C,L:-;-;:=n, §.J,S. L`)|ST. CT.
WD. C|:: TN. MEMPHZS
UNITED STATES OF AMERICA

_v_ Case No. 2:9Zcr20106-Ma

KEVIN WILHITE

 

ORDER SETTING
COND|T|ONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(1) The defendant shall not commit any offense in violation of federal, state or local law While on release in this
case.

(2) The defendant shall immediately advise the court, Pretrial Services Offlce, Probation Offzce, defense counsel
and the U.S. Attorney in writing of any change in address and telephone number.

(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence
imposed as directed The defendant shall next appear for Arraignment in the United States Courthouse and
Federal Building in Courlroom Courtroom # on Day, Date, at Time.

ADD|T|ONAL COND|T|ONS OF RELEASE

In order reasonably to assure the appearance of the defendant and the safety of other persons and the
community, it is FURTI~IER ORDERED that the release of the defendant is subject to the conditions marked below:

Secured Financial Conditions

0 Execute a bond in the amount of $10,000.00 or an agreement to forfeit upon failure to appear as required,
and post with the following amount of money to be deposited into the registry of the Court: 10%.

l Report as directed by the Probation Office.

0 Other: All conditions as previously imposed..

ADV|CE OF PENALT|ES AND SANCT|ONS
TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALT|ES AND SANCT|ONS:

AO199A OrderSemnsCOndifions ome-lease This docum'elnt entered on the docket sheet l com lianca
with Flu!a 55 ami/or 32(b) FHCrP on {Q“g‘j/_,/l_jQ 2

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A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of imprisonment, a fme, or both.

'I'he commission of a Federal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor. This sentence shall be in addition to any other sentence.

F ederal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigation lt is a crime punishable by up to ten years of imprisonment and a $250,000 fine or
both to tamper with a witness, victim or informant; to retaliate or attempt to retaliate against a wit.ness, victim or
informant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed If you are convicted of:

(l) an offense punishable by death, life imprisonment7 or imprisonment for a tenn of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;

(2) an offense punishable by imprisonment for a tenn of five years or more, but less than fifteen years, you shall
be fined not more than $250,000 or imprisoned not more than five years, or both;

(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor, you shall be fined not more than 5100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense. In addition, a failure to appear may result in the forfeiture of any bond posted

ACKNOWLEDGMENT OF DEFENDANT

I acknowledge that I am the defendant in this case and that l am aware of the conditions of release. l promise
to obey all conditions of release, to appear as directed, and to surrender for service of any sentence imposed I am aware
of the penalties and sanctions set forth above.

    

Signature of Defendant

Kevin Wilhite

157 Shofner
Mernphis, TN 38109
(901) 785-8475

Ao 199A order setting conditions or Retease -2-

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DlRECTIONS TO THE UN|TED STATES MARSHAL

The defendant is ORDERED released after processing
The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
Judicial Officer that the defendant has posted bond and/or complied with all other conditions for release The

defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

,_____.
Date: June 23,2005 § //th.t 642

S. THOMAS ANDER.SON
UNITED STATES MAGISTRATE JUDGE

|:||:|

AO 199A Order Settlng Conditions of Re|ease '3*

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 72 in
case 2:92-CR-20106 Was distributed by faX, mail, or direct printing on
June 24, 2005 to the parties listed

 

 

Tcrrell L. Harris

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Honorable Samuel Mays
US DISTRICT COURT

